     Case
      Case2:10-cr-00185-KJD-RJJ
           2:10-cr-00185-KJD-RJJ Document
                                 Document 75
                                          73                Filed 08/17/10
                                                            Filed 08/19/10 Page
                                                                            Page1 1ofof4 4




 1

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                         Plaintiff,                   )
                                                        )
10           v.                                         )          2:10-CR-185-KJD (RJJ)
                                                        )
11   JOSE JESUS CORONA-LARIS,                           )
                                                        )
12                         Defendant.                   )

13                            PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on August 17, 2010, defendant JOSE JESUS CORONA-LARIS pled

15   guilty to Count Two of a Seven-Count Criminal Indictment charging him with Distribution of a

16   Controlled Substance in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).

17           This Court finds defendant JOSE JESUS CORONA-LARIS agreed to the forfeiture of

18   property set forth in Forfeiture Allegation of the Criminal Indictment and the Plea Memoradum.

19           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

20   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

21   Criminal Indictment and the offense to which defendant JOSE JESUS CORONA-LARIS pled guilty.

22           The following assets are subject to forfeiture pursuant to Title 21, United States Code, Section

23   853(a)(1):

24                  a)     $3,760.00 in United States Currency seized from 6012 Sugar Creek Drive, North

25                         Las Vegas, NV;

26   ...
     Case
      Case2:10-cr-00185-KJD-RJJ
           2:10-cr-00185-KJD-RJJ Document
                                 Document 75
                                          73                 Filed 08/17/10
                                                             Filed 08/19/10 Page
                                                                             Page2 2ofof4 4




 1                   b)     $9,200.00 in United States Currency seized from 5041 Indigo Gorge Ave, Las

 2                          Vegas, NV; and

 3                   c)     $1,400.00 in United States Currency seized from 5041 Indigo Gorge Ave, Las

 4                          Vegas, NV.

 5           This Court finds the United States of America is now entitled to, and should, reduce the
 6   aforementioned property to the possession of the United States of America.
 7           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
 8   United States of America should seize the aforementioned property.
 9           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
10   JOSE JESUS CORONA-LARIS in the aforementioned property is forfeited and is vested in the
11   United States of America and shall be safely held by the United States of America until further order
12   of the Court.
13           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
14   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
15   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
16   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
17   the name and contact information for the government attorney to be served with the petition, pursuant
18   to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
20   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
21           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
22   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
23   following address at the time of filing:
24   ...
25   ...
26   ...

                                                        2
     Case
      Case2:10-cr-00185-KJD-RJJ
           2:10-cr-00185-KJD-RJJ Document
                                 Document 75
                                          73               Filed 08/17/10
                                                           Filed 08/19/10 Page
                                                                           Page3 3ofof4 4




 1                  DANIEL D. HOLLINGSWORTH
                    Assistant United States Attorney
 2                  MICHAEL A. HUMPHREYS
                    Assistant United States Attorney
 3                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
 4                  Las Vegas, Nevada 89101.
 5             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 6   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 7   following publication of notice of seizure and intent to administratively forfeit the above-described
 8   assets.
 9                         19
               DATED this ______          August
                                 day of __________________, 2010.
10

11

12

13                                                UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      3
     Case
      Case2:10-cr-00185-KJD-RJJ
           2:10-cr-00185-KJD-RJJ Document
                                 Document 75
                                          73               Filed 08/17/10
                                                           Filed 08/19/10 Page
                                                                           Page4 4ofof4 4




 1                                        PROOF OF SERVICE

 2           I, Alexandra M. McWhorter, certify that the following individuals were served with copies

 3   of the Preliminary Order of Forfeiture on August 17, 2010 by the below identified method of service:

 4           E-mail/ECF
 5           Charles E. Kelly
             Charles E. Kelly & Associates
 6           706 South Eighth
             Las Vegas, NV 89101
 7           Email: ceklv@aol.com
             Counsel for Sylvia Guadalupe Gonzalez
 8

 9           Jason G. Weiner
             Wright & Weiner, LTD.
10           801 S. Rancho Dr., Suite 340
             Las Vegas, NV 89106
11           Email: secretary@wrightweiner.com
             Counsel for Arnufulo Fahur-Gastelum
12
             Angela H. Dows
13           Reade & Associates
             4560 South Decatur Boulevard, 6th Floor
14           Las Vegas, NV 89103
             Email: adows@readelawfirm.com
15           Counsel for Jose Jesus Corona-Laris
16           Karen C. Winckler
             Wright Stanish & Winckler
17           300 S. Fourth Street, Suite 701
             Las Vegas, NV 89101
18
             Email: Winckler@wswlawlv.com
19           Counsel for Daniel Angulo

20
                                                   /s/AlexandraMMcWhorter
21                                                ALEXANDRA M. MCWHORTER
                                                  Forfeiture Support Associate Paralegal
22

23

24

25

26

                                                      4
